Case 5:20-cv-00994-JGB-kk Document 10-1 Filed 05/15/20 Page 1 of 30 Page ID #:897




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   13
                          UNITED STATES DISTRICT COURT
   14
                         CENTRAL DISTRICT OF CALIFORNIA
   15
   16
        DANIEL BRYANT, individually and        Case No. 5:20-cv-00994 JGB (KKx)
   17   on behalf of all others similarly
        situated,                              DEFENDANTS WERNER
   18                                          ENTERPRISES, INC. AND
                               Plaintiff,      DRIVERS MANAGEMENT,
   19                                          LLC’S MEMORANDUM OF
              v.                               POINTS AND AUTHORITIES IN
   20                                          SUPPORT OF THEIR MOTION
        WERNER ENTERPRISES, INC. a             TO TRANSFER VENUE
   21   Nebraska Corporation; DRIVERS
        MANAGEMENT LLC, a Delaware             Date: June 29, 2020
   22   Corporation; and DOES 1-50,            Time: 9:00 a.m.
        inclusive,                             Ctrm: 1
   23                                          Judge: Hon. Jesus G. Bernal
                               Defendants.
   24                                          Complaint Filed: February 10, 2020
   25
   26
   27
   28
             DEFENDANTS WERNER ENTERPRISES, INC. AND DRIVERS MANAGEMENT, LLC’S
   30    MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF MOTION TO TRANSFER VENUE

   31
Case 5:20-cv-00994-JGB-kk Document 10-1 Filed 05/15/20 Page 2 of 30 Page ID #:898




    1                                    TABLE OF CONTENTS
    2                                                                                                             PAGE
    3   I.       INTRODUCTION ...................................................................................... 1
    4   II.      PROCEDURAL AND FACTUAL BACKGROUND ............................... 3
    5            A.      Procedural Overview ....................................................................... 3
    6            B.      Plaintiff’s Employment With Defendants ....................................... 3
    7            C.      Defendants’ Operations ................................................................... 4
    8            D.      The Abarca Action ............................................................................ 5
    9            E.      The Smith Action .............................................................................. 6
   10            F.      The Vester Action ............................................................................. 8
   11   III.     LEGAL ARGUMENT ............................................................................... 9
   12            A.      This Action Should Be Transferred Under The
                         First-To-File Rule. ............................................................................ 9
   13
                         1.      This Action Was Filed After Abarca,
   14                            Smith, and Vester. ................................................................. 10
   15                    2.      This Action Asserts The Same Claims As
                                 The Abarca, Smith, and Vester Actions,
   16                            Which Have Already Been Transferred
                                 To Nebraska. ........................................................................ 11
   17
                                 a)        The Parties Substantially Overlap. .......................... 11
   18
                                 b)       The Issues/Claims In This Action
   19                                     Are The Same As In Abarca, Smith,
                                          and Vester.................................................................... 12
   20
                         3.      None Of The Exceptions To The First-To-
   21                            File Rule Apply. .................................................................... 13
   22                    4.      All Other Relevant Factors Weigh
                                 Heavily In Favor Of Transfer. ............................................. 14
   23
                 B.      This Action Should Be Transferred Under 28
   24                    U.S.C. § 1404(a). ............................................................................. 15
   25                    1.      Venue Is Proper In The District Of
                                 Nebraska. .............................................................................. 16
   26
   27
   28                                                           i
                 DEFENDANTS WERNER ENTERPRISES, INC. AND DRIVERS MANAGEMENT, LLC’S
   30        MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF MOTION TO TRANSFER VENUE

   31
Case 5:20-cv-00994-JGB-kk Document 10-1 Filed 05/15/20 Page 3 of 30 Page ID #:899



                      2.       Plaintiff Could Have Filed This Action In
    1                          Nebraska. .............................................................................. 17
    2                 3.       Transfer Will Serve The Convenience Of
                               Parties And Witnesses And Will Promote
    3                          The Interest Of Justice. ........................................................ 17
    4                          a)       The Court Should Give Little
                                        Weight To Plaintiff’s Choice of
    5                                   Forum. ........................................................................ 19
    6                          b)       The Convenience Of Parties And
                                        Witnesses Weighs In Favor Of
    7                                   Transfer. ..................................................................... 20
    8                          c)       The Ease Of Access To Sources Of
                                        Proof Favors Transfer................................................ 21
    9
                               d)       The District Of Nebraska Is
   10                                   Familiar With The Relevant Wage
                                        And Hour Laws. ......................................................... 22
   11
                               e)       The Alleged Events On Which
   12                                   Plaintiff Relies As The Basis for His
                                        Claims Occurred, if at all, in the
   13                                   District of Nebraska. .................................................. 23
   14                          f)       The Relative Docket Congestion
                                        Weighs In Favor of Transfer. .................................... 23
   15
                               g)       Considerations Of Judicial
   16                                   Economy Favor Transfer. .......................................... 24
   17   IV.   CONCLUSION......................................................................................... 24
   18
   19
   20
   21
   22
   23
   24
   25
   26
   27
   28                                                        ii
             DEFENDANTS WERNER ENTERPRISES, INC. AND DRIVERS MANAGEMENT, LLC’S
   30    MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF MOTION TO TRANSFER VENUE

   31
Case 5:20-cv-00994-JGB-kk Document 10-1 Filed 05/15/20 Page 4 of 30 Page ID #:900




    1                                    TABLE OF AUTHORITIES
    2                                                                                                                  PAGE
        Cases
    3
        AGCS Marine Ins. Co. v. Am. Truck & Trailer Body Co., 2013 U.S.
    4       Dist. LEXIS 3598 (E.D. Cal. Jan. 9, 2013) ................................................... 9
    5   Alexander v. Franklin Res., Inc., 2007 U.S. Dist. LEXIS 19727 (N.D.
              Cal. Feb. 14, 2007) ..................................................................................... 21
    6
        Alltrade, Inc. v. Uniweld Products, Inc., 946 F.2d 622 (9th Cir. 1991) ...9, 10, 13, 14
    7
        Animal Legal Defense Fund v. U.S. Food & Drug Administration, 836
    8        F.3d 987 (9th Cir. 2016) ............................................................................... 9
    9   Belle v. Chrysler Group, LLC, 2013 WL 12131368 (C.D. Cal. Apr. 8,
               2013) .......................................................................................................... 12
   10
        Bradley-Brown v. Am. Home Mortg. Servicing, Inc., 2012 WL 254064
   11         (C.D. Cal. Jan. 25, 2012) ............................................................................ 21
   12   Church of Scientology v. United States Dep’t of the Army, 611 F.2d
             738 (9th Cir. 1979) ................................................................................. 9, 14
   13
        Continental Grain Co. v. The FBL-585, 364 U.S. 19 (1960) ................................ 18
   14
        Ervin v. Kelly, 2010 U.S. Dist. LEXIS 74459 (W.D. Wash. Jul. 23,
   15         2010) ............................................................................................................ 9
   16   Evancho v. Sanofi-Aventis U.S., Inc., 2007 U.S. Dist. LEXIS 35500
             (N.D. Cal. May 3, 2007)....................................................................... 20, 22
   17
        E-Z-EM, Inc. v. Mallinckrodt, 2010 U.S. Dist. LEXIS 31419 (E.D.
   18        Tex. Feb. 26, 2010) ...................................................................................... 9
   19   Fossum v. Northwestern Mut. Life Ins. Co., 2010 U.S. Dist. LEXIS
             99904 (N.D. Cal. Sept. 6, 2010) ................................................................. 13
   20
        Fuchun Chang v. Flagstar Bank FSB, 2014 U.S. Dist. LEXIS 41711
   21        (N.D. Cal. Mar. 24, 2014) .......................................................................... 16
   22   Goodyear Tire & Rubber Co. v. McDonnell Douglas Corp., 820 F.
             Supp. 503 (C.D. Cal. 1992) ........................................................................ 16
   23
        Hawkins v. Gerber Prods. Co., 924 F. Supp. 2d 1208 (S.D. Cal. 2013)................ 22
   24
        Herrera v. Wells Fargo Bank, N.A., 2011 U.S. Dist. LEXIS 141976
   25        (N.D. Cal. Dec. 9, 2011)....................................................................... 10, 13
   26   In re Funeral Consumers Antitrust Litig., 2005 U.S. Dist. LEXIS
               48243 (N.D. Cal. Sept. 23, 2005) ............................................................... 20
   27
   28                                                              iii
              DEFENDANTS WERNER ENTERPRISES, INC. AND DRIVERS MANAGEMENT, LLC’S
   30     MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF MOTION TO TRANSFER VENUE

   31
Case 5:20-cv-00994-JGB-kk Document 10-1 Filed 05/15/20 Page 5 of 30 Page ID #:901



        Intersearch Worldwide, Ltd. v. Intersearch Group, Inc., 544 F. Supp.
    1          2d 949 (N.D. Cal. 2008) ....................................................................... 10, 11
    2   Jolly v. Purdue Pharma L.P., 2005 WL 2439197 (S.D. Cal. Sept. 28,
               2005) .................................................................................................... 18, 21
    3
        Jones v. GNC Franchising, Inc., 211 F.3d 495 (9th Cir. 2000) ............................. 18
    4
        King-Scott, 2010 U.S. Dist. LEXIS 44256............................................................ 19
    5
        LaCross v. Knight Transp., Inc., 95 F. Supp. 3d 1199 (C.D. Cal. 2015) ............... 22
    6
        Lou v. Belzberg, 834 F.2d 730 (9th Cir. 1987)...................................................... 19
    7
        Manier v. L’Oreal USA, Inc, 2017 WL 59066 (C.D. Cal. Jan. 4, 2017) ................ 11
    8
        Medlock v. HMS Host USA, Inc., 2010 U.S. Dist. LEXIS 133143
    9        (E.D. Cal. Dec. 15, 2010) ........................................................................... 10
   10   Mussetter Distrib., Inc. v. DBIU Beverage Inc., 2009 U.S. Dist.
             LEXIS 61013 (E.D. Cal. July 8, 2009) ....................................................... 18
   11
        Nakash v. Marciano, 882 F.2d 1411 (9th Cir. 1989) ............................................ 11
   12
        Pac. Coast Breaker, Inc. v. Conn. Elec., Inc., 2011 U.S. Dist. LEXIS
   13         56026 (E.D. Cal. May 24, 2011) .................................................................. 9
   14   Pacesetter Sys. Inc. v. Medtronic, Inc., 678 F.2d 93 (9th Cir. 1982) ................. 9, 14
   15   Parker v. Fedex Nat’l, Inc., 2010 U.S. Dist. LEXIS 130455 (E.D. Cal.
             Dec. 6, 2010) .............................................................................................. 18
   16
        PETA, Inc. v. Beyond the Frame, Ltd., 2011 WL 686158 (C.D. Cal.
   17        Feb. 16, 2011) ...................................................................................... 11, 13
   18   Piper Aircraft Co. v. Reyno, 454 U.S. 235 (1981) ................................................ 15
   19   Puri v. Hearthside Food Solutions LLC, 2011 WL 6257182 (C.D. Cal.
              Dec. 13, 2011) ............................................................................................ 18
   20
        Raynes v. Davis, 2007 WL 4145102 (C.D. Cal. Nov. 19, 2007) ........................... 18
   21
        Shelby v. Factory Five Racing, Inc., 2009 U.S. Dist. LEXIS 15830
   22         (C.D. Cal. Apr. 14, 2009) ........................................................................... 19
   23   Stewart Org. v. Ricoh Corp., 487 U.S. 22 (1988) ................................................. 17
   24   Stewart v. AT&T, Inc., 2007 U.S. Dist. LEXIS 28760 (N.D. Cal. April
             3, 2007) ...................................................................................................... 22
   25
        Tompkins v. Basic Research LL, 2008 WL 1808316 (E.D. Cal. Apr.
   26        22, 2008) .................................................................................................... 12
   27
   28                                                             iv
              DEFENDANTS WERNER ENTERPRISES, INC. AND DRIVERS MANAGEMENT, LLC’S
   30     MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF MOTION TO TRANSFER VENUE

   31
Case 5:20-cv-00994-JGB-kk Document 10-1 Filed 05/15/20 Page 6 of 30 Page ID #:902



        U-Haul Int’l, Inc. v. Hire a Helper, LLC, 2008 U.S. Dist. LEXIS
    1        81497 (D. Ariz. 2008) ................................................................................ 20
    2   Van Dusen v. Barrack, 376 U.S. 612 (1964)......................................................... 15
    3   Ventress v. Japan Airlines, 486 F.3d 1111 (9th Cir. 2007) ................................... 18
    4   Viper Networks, Inc. v. Rates Technology Inc., 2009 U.S. Dist. LEXIS
              110058 (S.D. Cal. Nov. 23, 2009) .............................................................. 19
    5
        Walker v. Progressive Casualty Ins. Co., 2003 U.S. Dist. LEXIS 7871
    6        (W.D. Wash. May 9, 2003) ........................................................................ 13
    7   Ward v. Follet Corp., 158 F.R.D. 645 (N.D. Cal. 1994) ....................................... 14
    8   Weinstein v. Metlife, Inc., 2006 U.S. Dist. LEXIS 83115 (N.D. Cal.
             Nov. 6, 2006) ............................................................................................. 11
    9
        Williams v. Bowman, 157 F. Supp. 2d 1103 (N.D. Cal. 2001) .............................. 20
   10
        Wright v. RBC Capital Markets Corp., 2010 U.S. Dist. LEXIS 80165
   11        (E.D. Cal. June 24, 2010) ........................................................................... 13
   12   Statutes
   13   28 U.S.C. § 1332(d) ............................................................................................. 17
   14   28 U.S.C. § 1391(b) ............................................................................................. 16
   15   28 U.S.C. § 1391(c).............................................................................................. 16
   16   28 U.S.C. § 1404(a)....................................................................................... passim
   17   Other Authorities
   18   Federal Rule of Civil Procedure 12 ........................................................................ 9
   19   Federal Rule of Civil Procedure 12(b)(1) ............................................................... 9
   20   Federal Rule of Civil Procedure 12(b)(3) ............................................................... 9
   21
   22
   23
   24
   25
   26
   27
   28                                                            v
              DEFENDANTS WERNER ENTERPRISES, INC. AND DRIVERS MANAGEMENT, LLC’S
   30     MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF MOTION TO TRANSFER VENUE

   31
Case 5:20-cv-00994-JGB-kk Document 10-1 Filed 05/15/20 Page 7 of 30 Page ID #:903




    1   I.       INTRODUCTION
    2            Plaintiff Daniel Bryant ("Plaintiff") filed this action as a putative class action
    3   alleging unpaid wages, missed meal and rest breaks, and penalties against
    4   defendants Werner Enterprises, Inc. (“Werner Enterprises”) and Drivers
    5   Management, LLC (“Drivers Management”) (collectively, “Defendants”). Werner
    6   Enterprises is a Nebraska corporation with its headquarters in Omaha, Nebraska.
    7   Drivers Management, LLC is a Delaware limited liability company with its
    8   principal place of business in Omaha, Nebraska.
    9            This action should be transferred under the first-to-file doctrine because
   10   Plaintiff's California-based wage claims are the same as the claims alleged in three
   11   other class actions. Two class actions were originally filed in Alameda County in
   12   2014 and 2015, removed to the Northern District of California and then transferred
   13   to the District of Nebraska: Ezequiel Olivares Abarca, et al. v. Werner Enterprises,
   14   Inc., et al., United States District Court, District of Nebraska, Case No. 8:14-cv-
   15   00319-LES-FG3 (formerly styled as Antonia Russell, et al. v. Werner Enterprises,
   16   Inc., et al.) (hereinafter “Abarca”) and William Smith, et al. v. Werner Enterprises,
   17   Inc., et al., United States District Court, District of Nebraska, Case No. 8:15-cv-
   18   00287-LES-FG3 (“Smith”). The other class action was originally filed in San
   19   Bernardino County in 2016, removed to this Court and then transferred to the
   20   District of Nebraska: Vester et al v. Werner Enterprises, Inc., et al, United States
   21   District Court, District of Nebraska, Case No. 8:17-cv-00145-JFB-MDN
   22   ("Vester"). The putative class Plaintiff seeks to represent in this action is included
   23   within the classes in the Abarca, Smith, and Vester actions. Plaintiff is a member of
   24   the class in those actions and was sent notice of those lawsuits.
   25            This action, the Abarca action, and the Vester action assert claims against
   26   Werner Enterprises and Drivers Management, while the Smith action asserts claims
   27   against Werner Enterprises. All four actions assert California-based wage and hour
   28                                                1
                 DEFENDANTS WERNER ENTERPRISES, INC. AND DRIVERS MANAGEMENT, LLC’S
   30        MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF MOTION TO TRANSFER VENUE

   31
Case 5:20-cv-00994-JGB-kk Document 10-1 Filed 05/15/20 Page 8 of 30 Page ID #:904




    1   claims for compensation, missed meal and rest breaks, and other derivative claims.
    2   The classes at issue in the four cases largely overlap –the putative class members
    3   in this action are included within the class certified in the Abarca and Smith
    4   actions. Plaintiff is a member of the class in those consolidated cases.
    5         The identical nature of these cases renders this action appropriate for transfer
    6   under the first-to-file doctrine – the same basis on which the Vester action was
    7   transferred to the Nebraska District Court. The resolution of the claims at issue in
    8   Abarca, Smith, and Vester will also resolve the claims at issue in Plaintiff's
    9   Complaint. Accordingly, litigating this case separately and in a different forum
   10   would create a significant potential for inconsistent adjudications and would result
   11   in a monumental waste of judicial resources.
   12         Transfer is also independently appropriate under 28 U.S.C. section 1404(a) –
   13   the same basis on which the Abarca and Smith actions were transferred to the
   14   Nebraska District Court. Transfer to Nebraska would provide a more convenient
   15   forum for the parties and witnesses because: (1) the venue would be closer to
   16   Defendants’ headquarters where company records and most (if not all) company
   17   witnesses reside; (2) the District of Nebraska is presiding over the Abarca, Smith,
   18   and Vester actions, which assert the same California-based wage and hour claims
   19   on behalf of a class which includes the class described in Plaintiff's Complaint; (3)
   20   because of the work on those cases, the District of Nebraska is familiar with the
   21   relevant wage and hour laws; and (4) the District of Nebraska has a local interest in
   22   the action because Defendants are headquartered in Omaha, Nebraska. These
   23   considerations outweigh any interest Plaintiff may have in litigating the case in
   24   California. Defendants request an Order transferring this case to the United States
   25   District Court for the District of Nebraska.
   26   ///
   27   ///
   28                                             2
              DEFENDANTS WERNER ENTERPRISES, INC. AND DRIVERS MANAGEMENT, LLC’S
   30     MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF MOTION TO TRANSFER VENUE

   31
Case 5:20-cv-00994-JGB-kk Document 10-1 Filed 05/15/20 Page 9 of 30 Page ID #:905




    1   II.   PROCEDURAL AND FACTUAL BACKGROUND
    2         A.     Procedural Overview
    3         Plaintiff filed this case on February 10, 2020, in the Superior Court of
    4   California, County of San Bernardino. (Dkt. No. 1 [Notice of Removal, ¶6, Ex.
    5   A].) On May 8, 2020, Defendants timely removed this action to this Court. (See
    6   generally, Notice of Removal.)
    7         In this action, Plaintiff brings claims on behalf of himself and a putative
    8   class of all current and/or former non-exempt employees who were employed by
    9   Defendants in the State of California during the period of February 10, 2016 to the
   10   present. (Dkt. No. 1 at Ex. A, Complaint, ¶10). Plaintiff alleges he was employed
   11   as a driver for Werner and delivered freight in California and Werner therefore
   12   understands his claims to be brought on behalf of other truck drivers who made
   13   deliveries in the State of California. (Complaint, ¶¶6, 10, 24).
   14         Plaintiff alleges that Defendants failed to pay him and the putative class for
   15   all hours worked in violation of California wage laws. Plaintiff asserts seven
   16   causes of action against Defendants: (1) failure to pay for all time worked; (2)
   17   failure to provide meal periods and/or pay premiums; (3) failure to provide paid
   18   rest periods and/or pay premiums; (4) failure to pay timely wages upon
   19   termination; (5) failure to furnish complete and accurate itemized wage statements;
   20   (6) failure to indemnify necessary business expenses; and (7) unfair competition.
   21   (See generally Complaint.)
   22         B.     Plaintiff’s Employment With Defendants
   23         Plaintiff was hired by Drivers Management in October 2016 to work as a
   24   commercial truck driver. (Declaration of Steven K. Tisinger (“Tisinger Decl.”) ¶5.)
   25   Plaintiff was terminated due to continued low production and poor communication
   26   in September 2017. (Id.) When hired, Plaintiff signed an acknowledgement
   27   verifying that he entered into his employment relationship in Nebraska. (Tisinger
   28                                             3
              DEFENDANTS WERNER ENTERPRISES, INC. AND DRIVERS MANAGEMENT, LLC’S
   30     MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF MOTION TO TRANSFER VENUE

   31
Case 5:20-cv-00994-JGB-kk Document 10-1 Filed 05/15/20 Page 10 of 30 Page ID #:906




    1   Decl. ¶5, Ex. A.)
    2         C.     Defendants’ Operations
    3         Werner Enterprises is a Nebraska corporation with its headquarters in
    4   Omaha, Nebraska. (Tisinger Decl. ¶2.) Drivers Management is a Delaware limited
    5   liability company with its headquarters in Omaha, Nebraska. (Id.) Drivers
    6   Management is a wholly-owned subsidiary of Gra-Gar, LLC, which is a wholly-
    7   owned subsidiary of Werner Enterprises. (Id.)
    8         Defendants are transportation and logistics companies with a diversified
    9   portfolio of transportation services, including dedicated, medium- to long-haul,
   10   regional and local van capacity, expedited, temperature-controlled and flatbed
   11   services. (Id. ¶3.) Defendants employ interstate truck drivers whose current and
   12   last known payroll tax addresses are in all 50 states, Puerto Rico, and Canada. (Id.)
   13         Employees at Defendants’ headquarters are responsible for processing,
   14   preparing, and distributing all payments made to truck drivers, including the
   15   putative class members. (Tisinger Decl. ¶6.) Defendants issue paychecks from their
   16   headquarters, including all paychecks issued to Plaintiff and the putative class
   17   members during the class period alleged by the Plaintiff. (Id.) All records relating
   18   to these paychecks are also maintained at Defendants’ headquarters in Omaha,
   19   Nebraska. (Id.)
   20         The employees responsible for formulating and administering Defendants’
   21   pay policies work at Defendants’ headquarters in Omaha, Nebraska. (Tisinger
   22   Decl. ¶6.) All corporate policies relating to drivers, including but not limited to
   23   payroll policies, were developed at and are maintained at Defendants’ headquarters
   24   in Omaha, Nebraska. (Id. ¶7.) All employment records regarding Plaintiff and the
   25   putative class members are maintained at Defendants’ headquarters. (Id.)
   26   ///
   27   ///
   28                                             4
              DEFENDANTS WERNER ENTERPRISES, INC. AND DRIVERS MANAGEMENT, LLC’S
   30     MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF MOTION TO TRANSFER VENUE

   31
Case 5:20-cv-00994-JGB-kk Document 10-1 Filed 05/15/20 Page 11 of 30 Page ID #:907




    1         D.     The Abarca Action
    2         On June 4, 2014, Antonia Russell filed a putative class action in Alameda
    3   County Superior Court against Werner Enterprises. (Request for Judicial Notice
    4   [“RJN”] ¶1, Ex. A.) On July 9, 2014, Russell filed a First Amended Complaint
    5   (“FAC”). (RJN ¶2, Ex. B.) On August 25, 2014, Werner Enterprises timely
    6   removed the action to the Northern District of California. (RJN ¶3, Ex. C.)
    7         The FAC asserted claims on behalf of a putative class of truck drivers who
    8   work or worked in California for Werner Enterprises after the completion of
    9   training at any time from June 4, 2010 to the present. Just like the Complaint in
   10   this case, the FAC in Abarca alleged that Werner Enterprises failed to pay the
   11   putative class for all hours worked and/or paid less than minimum wage in
   12   violation of California minimum wage laws and prohibitions against off-the-clock
   13   work. Specifically, the FAC asserted six causes of action against Werner
   14   Enterprises on behalf of the putative class: (1) failure to provide meal and rest
   15   periods; (2) failure to pay minimum and/or regular wages for all time worked; (3)
   16   unauthorized and improper “pay deductions”; (4) failure to provide and maintain
   17   accurate itemized wage statements and records; (5) violation of Business and
   18   Professions Code section 17200 et seq.; and (6) violation of other provisions of the
   19   Labor Code for which recovery is allowed pursuant to the Private Attorneys’
   20   General Act (“PAGA”), Labor Code section 2698 et seq. (RJN ¶2, Ex. B (FAC
   21   ¶¶16-45).)
   22         On October 6, 2014, the Northern District of California court granted
   23   Werner Enterprises’ Motion to Transfer for the convenience of parties and
   24   witnesses, and transferred the action to the District of Nebraska. (RJN ¶4, Ex. D.)
   25   In making its ruling, the court found that: (i) it would be more convenient for
   26   Werner Enterprises to litigate the case in Nebraska where its headquarters are
   27   located, where its records are maintained, and where it was already defending two
   28                                            5
              DEFENDANTS WERNER ENTERPRISES, INC. AND DRIVERS MANAGEMENT, LLC’S
   30     MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF MOTION TO TRANSFER VENUE

   31
Case 5:20-cv-00994-JGB-kk Document 10-1 Filed 05/15/20 Page 12 of 30 Page ID #:908




    1   other class actions challenging its methods and practices with regard to paying its
    2   truck drivers; (ii) it would be more convenient for most witnesses, which the court
    3   found was one of the most important factors for the transfer analysis; and (iii) the
    4   remaining factors in the analysis favored transfer. (Id.)
    5         Through a series of amended Complaints, Antonia Russell was subsequently
    6   removed as a named plaintiff, certain other plaintiffs were substituted, and the case
    7   was retitled Olivares Abarca et al. v. Werner Enterprises, et al. ("Abarca"). Like
    8   the Complaint in this case, the operative Fourth Amended Complaint in the Abarca
    9   action alleges putative class claims on behalf of “all truck drivers who, while
   10   working for [Defendants], picked up and/or dropped off a load in the state of
   11   California after the completion of training at any time since four years before the
   12   filing of this legal action until such time as there is a final disposition of this
   13   lawsuit” (the “California Class”). (RJN ¶5, Ex. E (Fourth Amended Complaint in
   14   Abarca) ¶8.) Six causes of action are alleged against Defendants on behalf of the
   15   California Class: (1) failure to provide meal and rest periods; (2) failure to pay
   16   minimum and/or regular wages for all time worked; (3) unauthorized and improper
   17   “pay deductions”; (4) failure to provide and maintain accurate itemized wage
   18   statements and records; (5) violation of Business and Professions Code section
   19   17200 et seq.; and (6) violation of other provisions of the Labor Code for which
   20   recovery is allowed pursuant PAGA, Labor Code section 2698 et seq. (Id. ¶¶19-
   21   48.) Like the Complaint in this case, the plaintiffs in the Abarca action also include
   22   requests for waiting time penalties for failure to pay wages due upon termination.
   23   (Id. ¶¶21, 26, 31.)
   24         E.     The Smith Action
   25         On May 12, 2015, William Smith brought a putative class action against
   26   Werner Enterprises in the Superior Court for the State of California, County of
   27   Alameda. (RJN ¶6, Ex. F.) On June 26, 2015, Werner Enterprises removed the
   28                                             6
              DEFENDANTS WERNER ENTERPRISES, INC. AND DRIVERS MANAGEMENT, LLC’S
   30     MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF MOTION TO TRANSFER VENUE

   31
Case 5:20-cv-00994-JGB-kk Document 10-1 Filed 05/15/20 Page 13 of 30 Page ID #:909




    1   Smith action to the Northern District of California. (RJN ¶7, Ex. G.)
    2         The Complaint in the Smith action asserted claims on behalf of a putative
    3   class of truck drivers who claim they worked for Werner Enterprises in California
    4   during the period from May 12, 2011, through the present. Just like the Plaintiff's
    5   Complaint in this case, the Complaint in Smith asserted various causes of action
    6   against Werner Enterprises for alleged violations of California wage-and-hour
    7   laws: (1) failure to pay compensation for all time worked/all miles driven; (2)
    8   failure to provide meal periods; (3) failure to authorize and permit rest breaks; (4)
    9   knowing and intentional failure to comply with itemized employee wage
   10   statements; (5) failure to reimburse business expenses/illegal deductions; (6)
   11   failure to pay timely wages due at termination; and (7) violation of unfair
   12   competition law. (RJN ¶6, Ex. F (Complaint ¶¶ 75-156).)
   13         On July 31, 2015, the Northern District of California court granted Werner
   14   Enterprises’ Motion to Transfer for the convenience of parties and witnesses under
   15   28 U.S.C. section 1404(a), and transferred the Smith action to the District of
   16   Nebraska. (RJN ¶8, Ex. H.) In making its ruling, the court found that transfer was
   17   warranted because there were multiple closely-related cases pending against
   18   Werner Enterprises in the District of Nebraska and significant conveniences were
   19   likely to be achieved if the Smith action also proceeded in that forum. (Id.)
   20         On November 19, 2015, the Smith action was consolidated with the Abarca
   21   action, after Nebraska court concluded the cases involved similar allegations of
   22   alleged violations of California law and therefore involved common issues of law
   23   and fact. (RJN ¶9, Ex. I (Memorandum and Order granting Motion to Consolidate
   24   Cases for purposes of discovery and trial).)
   25         On March 20, 2018, the District of Nebraska granted the plaintiffs’ motion
   26   for class certification in the Abarca and Smith actions. (RJN ¶10, Ex. J.) Plaintiff is
   27   a member of the class certified by the District of Nebraska in Abarca and Smith.
   28                                             7
              DEFENDANTS WERNER ENTERPRISES, INC. AND DRIVERS MANAGEMENT, LLC’S
   30     MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF MOTION TO TRANSFER VENUE

   31
Case 5:20-cv-00994-JGB-kk Document 10-1 Filed 05/15/20 Page 14 of 30 Page ID #:910




    1   (Declaration of Sarah L. (Sally) McGill ("McGill Decl.") ¶2.) Plaintiff was sent
    2   notice of the Abarca lawsuit on October 9, 2018. (McGill Decl. ¶2.) Plaintiff did
    3   not opt out of the Abarca class. (Id. at ¶3.)
    4         F.     The Vester Action
    5         On December 15, 2016, Brian Vester and Joel Morales brought a putative
    6   class action against Werner Enterprises in the Superior Court of California, County
    7   of San Bernardino. (RJN ¶11, Ex. K.) On January 20, 2017, Defendants removed
    8   the Vester action to the Central District of California. (RJN ¶12, Ex. L.)
    9         The Complaint in the Vester action asserted claims on behalf of a putative
   10   class of truck drivers who claim they worked for Werner Enterprises exclusively in
   11   California during the period from December 15, 2012, through the present. The
   12   Complaint in Vester, like the Complaint in this case, asserted various causes of
   13   action against Defendants for alleged violations of California wage-and-hour laws:
   14   (1) failure to pay compensation for all time worked; (2) failure to provide meal and
   15   rest periods; (3) failure to provide and maintain accurate itemized wage statements
   16   and records; (4) improper wage deductions; (5) failure to pay timely wages due at
   17   termination; and (6) violation of unfair competition law. (RJN ¶11, Ex. K
   18   (Complaint ¶¶ 43-53, 54-61, 62-69, 70-74, 75-79, 80-89).)
   19         On April 24, 2017, this Court granted Defendants’ Motion to Transfer
   20   Venue to the District of Nebraska under the first-to-file rule. (RJN ¶13, Ex. M.) In
   21   making its ruling, the court found that transfer was warranted because the Abarca
   22   and Smith actions were filed first and the parties and the issues in all three actions
   23   were substantially similar. (Id.).
   24         On May 15, 2018, the Nebraska federal court denied the Vester plaintiffs'
   25   Renewed Motion to Remand and found that the jurisdictional minimum under the
   26   Class Action Fairness Act ("CAFA") was satisfied because the amount in
   27   controversy exceeded five million dollars and the Vester plaintiffs did not establish
   28                                              8
              DEFENDANTS WERNER ENTERPRISES, INC. AND DRIVERS MANAGEMENT, LLC’S
   30     MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF MOTION TO TRANSFER VENUE

   31
Case 5:20-cv-00994-JGB-kk Document 10-1 Filed 05/15/20 Page 15 of 30 Page ID #:911




    1   to a legal certainty that their claim is for less than the requisite amount. (RJN ¶14,
    2   Ex. N.) On July 13, 2018, the Nebraska federal court also consolidated Vester with
    3   the Abarca and Smith actions because the Nebraska court concluded the actions all
    4   involved similar allegations of alleged violations of California law and therefore
    5   involved common issues of law and fact. (RJN ¶15, Ex. O.)
    6   III.     LEGAL ARGUMENT
    7            A.    This Action Should Be Transferred Under The First-To-File Rule.
    8            The first-to-file rule is “a generally recognized doctrine of federal comity
    9   which permits a district court to decline jurisdiction over an action when a
   10   complaint involving the same parties and issues has already been filed in another
   11   district."1 Pacesetter Sys. Inc. v. Medtronic, Inc., 678 F.2d 93, 94-95 (9th Cir.
   12   1982).
   13            When two cases involving the same parties and issues are filed in two
   14   different federal districts, the first-to-file rule permits the second district court to
   15   exercise its discretion to transfer, dismiss, or stay the latter suit in the interests of
   16   efficiency and judicial economy. Alltrade, Inc. v. Uniweld Products, Inc., 946 F.2d
   17   622, 625 (9th Cir. 1991). The rule was designed to avoid placing an unnecessary
   18   burden on the federal judiciary and to avoid “the embarrassment of conflicting
   19   judgments.” Church of Scientology v. United States Dep’t of the Army, 611 F.2d
   20   738, 750 (9th Cir. 1979), overruled on other grounds by Animal Legal Defense
   21
        1
          The first-to-file rule is not expressly enumerated in Federal Rule of Civil
   22
        Procedure 12. AGCS Marine Ins. Co. v. Am. Truck & Trailer Body Co., 2013 U.S.
   23   Dist. LEXIS 3598, at *4 (E.D. Cal. Jan. 9, 2013); Pac. Coast Breaker, Inc. v.
        Conn. Elec., Inc., 2011 U.S. Dist. LEXIS 56026, at *6, fn. 1 (E.D. Cal. May 24,
   24
        2011). Some courts consider a motion based on the first-to-file rule to be a motion
   25   to dismiss for lack of subject matter jurisdiction under Rule 12(b)(1) or for
        improper venue under Rule 12(b)(3). Ervin v. Kelly, 2010 U.S. Dist. LEXIS 74459
   26
        (W.D. Wash. Jul. 23, 2010); E-Z-EM, Inc. v. Mallinckrodt, 2010 U.S. Dist. LEXIS
   27   31419 (E.D. Tex. Feb. 26, 2010).
   28                                              9
                DEFENDANTS WERNER ENTERPRISES, INC. AND DRIVERS MANAGEMENT, LLC’S
   30       MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF MOTION TO TRANSFER VENUE

   31
Case 5:20-cv-00994-JGB-kk Document 10-1 Filed 05/15/20 Page 16 of 30 Page ID #:912




    1   Fund v. U.S. Food & Drug Administration, 836 F.3d 987, 990 (9th Cir. 2016). The
    2   rule serves the purpose of promoting efficiency and should not be disregarded
    3   lightly. Id. The rule is “not a rigid or inflexible rule to be mechanically applied, but
    4   rather is to be applied with a view to the dictates of sound judicial administration.”
    5   Medlock v. HMS Host USA, Inc., 2010 U.S. Dist. LEXIS 133143, at *8 (E.D. Cal.
    6   Dec. 15, 2010) (quotations omitted).
    7         To determine whether the first-to-file rule applies, courts must look to three
    8   essential factors: (1) the chronology of the actions; (2) the similarity of the parties;
    9   and (3) the similarity of the issues. Alltrade, Inc., 946 F.2d at 625; Intersearch
   10   Worldwide, Ltd. v. Intersearch Group, Inc., 544 F. Supp. 2d 949, 957 (N.D. Cal.
   11   2008); Herrera v. Wells Fargo Bank, N.A., 2011 U.S. Dist. LEXIS 141976, at *4
   12   (N.D. Cal. Dec. 9, 2011). This case should be transferred to the District of
   13   Nebraska under the first-to-file rule because the Abarca, Smith, and Vester actions
   14   were filed years before this case, the putative class of truck drivers described in
   15   Plaintiff's Complaint is included in the classes described in those actions, and the
   16   claims asserted in this case are virtually identical to the claims asserted in Abarca,
   17   Smith, and Vester.
   18                1.      This Action Was Filed After Abarca, Smith, and Vester.
   19         This action was filed on February 10, 2020, more than five years after
   20   Abarca was filed, more than four years after Smith was filed, and more than three
   21   years after Vester was filed. (RJN ¶¶1, 6, 11; Exs. A, F, K.) In the Abarca, Smith,
   22   and Vester actions, litigation has been ongoing since the transfer. For example, the
   23   Nebraska court granted the plaintiffs' renewed motion for class certification in the
   24   Abarca and Smith actions in March 2018. The Vester action was consolidated with
   25   Abarca and Smith on July 13, 2018. (RJN ¶15; Ex. O.) However, virtually nothing
   26   has occurred in this action beyond the filing of the Complaint and Defendants’
   27   removal. Consequently, this action is the last filed and subject to transfer under the
   28                                             10
              DEFENDANTS WERNER ENTERPRISES, INC. AND DRIVERS MANAGEMENT, LLC’S
   30     MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF MOTION TO TRANSFER VENUE

   31
Case 5:20-cv-00994-JGB-kk Document 10-1 Filed 05/15/20 Page 17 of 30 Page ID #:913




    1   first-to-file rule. Intersearch Worldwide, 544 F. Supp. 2d at 958.
    2                2.     This Action Asserts The Same Claims As The Abarca,
    3                       Smith, and Vester Actions, Which Have Already Been
    4                       Transferred To Nebraska.
    5                       a)     The Parties Substantially Overlap.
    6         For the first-to-file rule to apply, the actions need not be mirror images of
    7   each other; rather, it is sufficient for the parties to be “substantially similar.”
    8   Nakash v. Marciano, 882 F.2d 1411, 1416 (9th Cir. 1989). Accordingly, if some
    9   parties in one matter are also parties in the other matter, the parties are deemed
   10   similar for purposes of the comity doctrine. Intersearch Worldwide, 544 F. Supp.
   11   2d at 959 n.6 (explaining exact identity of parties is not required to satisfy the first-
   12   to-file rule); PETA, Inc. v. Beyond the Frame, Ltd., 2011 WL 686158, at *2 (C.D.
   13   Cal. Feb. 16, 2011).
   14         Here, both Werner Enterprises and Drivers Management are named
   15   defendants in this action and in Abarca and Vester and Werner Enterprises is a
   16   named defendant in Smith. Thus, the defendants in all four actions are the same for
   17   purposes of applying the first-to-file doctrine.
   18         The putative classes are compared when evaluating the plaintiffs for
   19   purposes of applying the first-to-file rule. Manier v. L’Oreal USA, Inc, 2017 WL
   20   59066, at *3 (C.D. Cal. Jan. 4, 2017); Weinstein v. Metlife, Inc., 2006 U.S. Dist.
   21   LEXIS 83115, at *11 (N.D. Cal. Nov. 6, 2006). Here, Plaintiff is a former truck
   22   driver who seeks to represent a class of current and/or former Werner drivers who
   23   made freight deliveries in the State of California from February 10, 2016 to the
   24   present. (Complaint, ¶¶6, 10). This class is included within the broader classes
   25   described in Abarca, Smith, and Vester, where the plaintiffs represent truck drivers
   26   who worked for Defendants in California from June 4, 2010 (Abarca), May 12,
   27   2011 (Smith), and December 15, 2012 (Vester) to the present. Plaintiff is a member
   28                                              11
              DEFENDANTS WERNER ENTERPRISES, INC. AND DRIVERS MANAGEMENT, LLC’S
   30     MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF MOTION TO TRANSFER VENUE

   31
Case 5:20-cv-00994-JGB-kk Document 10-1 Filed 05/15/20 Page 18 of 30 Page ID #:914




    1   of the class in the Abarca, Smith, and Vester actions and has not opted out of the
    2   class. (McGill Decl. ¶¶2-3). Accordingly, the parties in this action are sufficiently
    3   identical to the parties in Abarca, Smith, and Vester to warrant transfer. (RJN ¶13,
    4   Ex. M) (transferring Vester action to the District of Nebraska under the first-to-file
    5   rule). See Belle v. Chrysler Group, LLC, 2013 WL 12131368, at *5 (C.D. Cal. Apr.
    6   8, 2013) (transferring putative class action to District of New Jersey when two
    7   putative class actions seeking to represent similar classes were pending there);
    8   Tompkins v. Basic Research LL, 2008 WL 1808316, at *6 (E.D. Cal. Apr. 22,
    9   2008) (transferring putative class action when the putative class was included
   10   within a putative nationwide class pending in the District of Utah).
   11                      b)     The Issues/Claims In This Action Are The Same
   12                             As In Abarca, Smith, and Vester.
   13         This action, Abarca, Smith, and Vester all seek class action redress for the
   14   same California-based wage and hour claims, on behalf of the same putative class.
   15   All four lawsuits contend that Werner: (i) has a piece-rate pay system that fails to
   16   lawfully pay drivers for all wages owed; (ii) does not provide lawful meal breaks;
   17   (iii) does not authorize lawful rest breaks; (iv) does not issue accurate wage
   18   statements; and (v) has engaged in unfair competition. All four lawsuits assert the
   19   same factual allegations, the same legal theories, are based on the same California
   20   statutes and laws, and seek the same remedies.
   21         Plaintiff's Complaint also includes a cause of action for failure to indemnify
   22   business expenses based on drivers' purported use of their personal cell phones to
   23   contact dispatchers and customers. (See Complaint, ¶¶44, 83-86.) Like Plaintiff's
   24   Complaint, the Smith Complaint alleges Werner failed to reimburse and/or
   25   indemnify business expenses of drivers, "including, but not limited to lumper fees,
   26   scale fees, and other expenses incurred in direct consequence of the discharge of
   27   their work duties." (RJN ¶6, Ex. F at ¶29; compare Complaint, ¶¶44, 83-86 with
   28                                            12
              DEFENDANTS WERNER ENTERPRISES, INC. AND DRIVERS MANAGEMENT, LLC’S
   30     MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF MOTION TO TRANSFER VENUE

   31
Case 5:20-cv-00994-JGB-kk Document 10-1 Filed 05/15/20 Page 19 of 30 Page ID #:915




    1   RJN ¶6, Ex. F at ¶¶11, 17-18, 24, 29, 46, 131-139). Plaintiff's cause of action for
    2   failure to indemnify business expenses substantially overlaps with the claim in
    3   Smith for failure to indemnify business expenses. PETA, Inc., 2011 WL 686158, at
    4   *2; Walker v. Progressive Casualty Ins. Co., 2003 U.S. Dist. LEXIS 7871, at *7-*8
    5   (W.D. Wash. May 9, 2003) (“[s]light differences in the claims asserted do not
    6   prevent application of the rule where the underlying complained-of conduct is
    7   almost identical”); Herrera, 2011 U.S. Dist. LEXIS 141976, at *7.
    8         The Abarca action also asserts a penalty claim under the Private Attorney
    9   General Act ("PAGA") which is not asserted in this action or the Smith or Vester
   10   actions. The PAGA claim is completely derivative of the other claims, which are
   11   almost identical in these cases. The fact that there is not complete identity of the
   12   claims does not defeat a motion to transfer. As long as there is substantial
   13   similarity between one or more claims—as there is here—then the first-to-file
   14   doctrine should apply. Wright v. RBC Capital Markets Corp., 2010 U.S. Dist.
   15   LEXIS 80165, at *20-21 (E.D. Cal. June 24, 2010) (applying the first-to-file rule
   16   even though the first class action included allegations not at issue in the second
   17   class action); Fossum v. Northwestern Mut. Life Ins. Co., 2010 U.S. Dist. LEXIS
   18   99904, at *4-*6 (N.D. Cal. Sept. 6, 2010) (first-to-file doctrine applied to two cases
   19   based on same set of facts with different causes of action alleged).
   20         Because the issues and claims in this action are virtually identical to the
   21   issues and claims in Abarca, Smith, and Vester, transfer is warranted under the
   22   first-to-file doctrine. (See RJN ¶13, Ex. M) (transferring Vester action to the
   23   District of Nebraska under the first-to-file rule).
   24                3.     None Of The Exceptions To The First-To-File Rule Apply.
   25         None of the recognized exceptions to the first-to-file rule apply here. The
   26   first-to-file rule may not be applied where the first action is filed merely to forum
   27   shop, see Alltrade, 946 F.2d at 628, when the later filed action has progressed
   28                                              13
              DEFENDANTS WERNER ENTERPRISES, INC. AND DRIVERS MANAGEMENT, LLC’S
   30     MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF MOTION TO TRANSFER VENUE

   31
Case 5:20-cv-00994-JGB-kk Document 10-1 Filed 05/15/20 Page 20 of 30 Page ID #:916




    1   further, see Church of Scientology of California, 611 F.2d at 750, or where “the
    2   balance of convenience weighs in favor of the later filed action,” see Ward v.
    3   Follet Corp., 158 F.R.D. 645, 648 (N.D. Cal. 1994). Here, there is no evidence that
    4   the Abarca, Smith, or Vester actions were filed for purposes of forum shopping.
    5   Nor has this case progressed further. The other cases have been proceeding in
    6   Nebraska for over five years. The fact that the earlier-filed Abarca, Smith, and
    7   Vester actions are already being litigated in Nebraska outweighs any argument that
    8   Plaintiff, as a California resident, has a right to have his case heard in California.
    9   None of the exceptions to the first-to-file rule are applicable here.
   10                 4.    All Other Relevant Factors Weigh Heavily In Favor Of
   11                       Transfer.
   12           In addition to being last-filed and substantially duplicative of the earlier-
   13   filed Abarca, Smith, and Vester actions, transfer of the instant action is supported
   14   by all other considerations relevant under the first-to-file doctrine.2 These include
   15   promoting judicial economy and the risk of conflicting judgments. Pacesetter
   16   Systems, Inc., 678 F.2d at 96.
   17           After handling the Abarca, Smith, and Vester actions for over five years, the
   18   Nebraska District Court is familiar with the facts relevant to this case, including
   19   Defendants’ pay policies and practices and California wage and hour laws.
   20   Accordingly, the Nebraska District Court is well-suited to adjudicate this action
   21   with the Abarca, Smith, and Vester actions.
   22           Failure to transfer the action is highly likely, if not certain, to result in
   23   inconsistent judgments and a substantial waste of judicial resources. Resolution of
   24
        2
   25     Although this Court has the discretion to dismiss or stay a later-filed lawsuit in
        the interests of efficiency and judicial economy, Defendants only seek a transfer at
   26
        this time and do not ask for these other remedies but otherwise reserve all rights to
   27   do so in the future. Alltrade, Inc., 946 F.2d at 628-29.
   28                                             14
                DEFENDANTS WERNER ENTERPRISES, INC. AND DRIVERS MANAGEMENT, LLC’S
   30       MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF MOTION TO TRANSFER VENUE

   31
Case 5:20-cv-00994-JGB-kk Document 10-1 Filed 05/15/20 Page 21 of 30 Page ID #:917




    1   Abarca, Smith, and Vester could fully or partially bar the claims in this action
    2   under the doctrines of res judicata, collateral estoppel, or offset. Because Abarca,
    3   Smith, and Vester have progressed significantly, it is highly likely that the
    4   Nebraska court will rule first on the identical issues plead in this case. The
    5   Nebraska court’s rulings would then bind Plaintiff from re-litigating the same
    6   issues.
    7          If transfer is denied and this action and the Abarca, Smith, and Vester actions
    8   proceed simultaneously in different jurisdictions, there is a risk for significant
    9   unfairness to Defendants. The putative class members in this case could observe
   10   the other cases and then decide whether to opt out of those cases based on how
   11   well they are proceeding for the plaintiffs. The result would be a significant
   12   unfairness to Defendants and the entire legal process. Given the potential for
   13   inconsistent rulings on identical issues, the potential inequity, and the efficiencies
   14   associated with having one judge oversee identical claims asserted on behalf of the
   15   same individuals and related discovery, transfer is warranted under the first-to-file
   16   doctrine. (See RJN ¶13, Ex. M) (transferring Vester to Nebraska under the first-to-
   17   file rule).
   18          B.     This Action Should Also Be Transferred Under 28 U.S.C. § 1404.
   19          A district court may transfer a civil action to any other district or division
   20   where it might have been brought for the convenience of parties and witnesses and
   21   in the interest of justice. 28 U.S.C. § 1404(a). This provision is a “federal
   22   housekeeping measure, allowing easy change of venue within a unified federal
   23   system.” Piper Aircraft Co. v. Reyno, 454 U.S. 235, 254 (1981) (quotations
   24   omitted). Its purpose is “to prevent the waste of time, energy and money, and to
   25   protect litigants, witnesses and the public against unnecessary inconvenience and
   26   expense.” Van Dusen v. Barrack, 376 U.S. 612, 616 (1964) (quotations omitted).
   27   To support a motion for transfer the moving party must show: (1) venue is proper
   28                                             15
              DEFENDANTS WERNER ENTERPRISES, INC. AND DRIVERS MANAGEMENT, LLC’S
   30     MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF MOTION TO TRANSFER VENUE

   31
Case 5:20-cv-00994-JGB-kk Document 10-1 Filed 05/15/20 Page 22 of 30 Page ID #:918




    1   in the transferor district; (2) the transferee district is one where the action might
    2   have been brought; and (3) the transfer will serve the convenience of the parties
    3   and witnesses and will promote the interest of justice. Goodyear Tire & Rubber
    4   Co. v. McDonnell Douglas Corp., 820 F. Supp. 503, 506 (C.D. Cal. 1992).
    5         Venue is proper in the District of Nebraska because Plaintiff could have
    6   filed this case in Nebraska. The interests of justice are better served by transferring
    7   this case to Nebraska because the previously-filed cases have progressed further
    8   and transfer to the District of Nebraska is necessary to prevent the risk of
    9   inconsistent results. The Abarca and Smith actions were already transferred to
   10   Nebraska under a convenience analysis, confirming that the convenience of the
   11   parties and witnesses supports transfer here.
   12                1.     Venue Is Proper In The District Of Nebraska.
   13         Venue is proper in any district where “any defendant resides, if all
   14   defendants reside in the same State,” or “in which a substantial part of the events
   15   or omissions giving rise to the claim occurred.” 28 U.S.C. § 1391(b); Fuchun
   16   Chang v. Flagstar Bank FSB, 2014 U.S. Dist. LEXIS 41711, at *4-5 (N.D. Cal.
   17   Mar. 24, 2014). Defendants "reside" in the District of Nebraska because they are
   18   subject to personal jurisdiction in the District of Nebraska by virtue of the fact that
   19   their corporate headquarters are located there. See 28 U.S.C. § 1391(c) (corporate
   20   defendants, such as Defendants, “reside” in any judicial district in which they are
   21   subject to personal jurisdiction). Venue is proper in Nebraska because Defendants
   22   "reside" in Nebraska.
   23         Venue is also proper in the District of Nebraska because a substantial part of
   24   the alleged conduct about which Plaintiff complains occurred in the Nebraska.
   25   Plaintiff acknowledged when he accepted employment that his employment
   26   relationship was entered into in Nebraska. (Tisinger Decl. ¶5, Ex. A.) Plaintiff's
   27   allegations center around Defendants’ pay policies, all of which were formulated in
   28                                             16
              DEFENDANTS WERNER ENTERPRISES, INC. AND DRIVERS MANAGEMENT, LLC’S
   30     MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF MOTION TO TRANSFER VENUE

   31
Case 5:20-cv-00994-JGB-kk Document 10-1 Filed 05/15/20 Page 23 of 30 Page ID #:919




    1   Nebraska, where Defendants’ corporate headquarters and principal place of
    2   business are located. (Id. ¶7.) Accordingly, a substantial portion of the alleged
    3   conduct on which Plaintiff relies as the basis for his claims occurred, if at all, in
    4   Nebraska.
    5                2.    Plaintiff Could Have Filed This Action In Nebraska.
    6         Plaintiff also could have filed this action in the District of Nebraska because
    7   that District has original jurisdiction over this case under CAFA. 28 U.S.C. §
    8   1332(d). CAFA grants district courts original jurisdiction over civil class actions
    9   filed under state law or federal law in which any member of a class is a citizen of a
   10   state different from any defendant, where the number of putative class members is
   11   one hundred or more, and where the amount in controversy for the putative class
   12   members in the aggregate exceeds the sum or value of $5,000,000. See id. This
   13   case meets all of the requirements for removal, as it is brought on behalf of more
   14   than one hundred putative class members, at least one of whom is a citizen of a
   15   state different from Defendants, and the amount in controversy exceeds the sum of
   16   $5,000,000, exclusive of interest and costs. See id.; Notice of Removal.
   17                3.     Transfer Will Serve The Convenience Of Parties And
   18                       Witnesses And Will Promote The Interest Of Justice.
   19         The decision to transfer a case is within the sound discretion of the district
   20   court judge on a “case-by-case consideration of convenience and fairness.” Stewart
   21   Org. v. Ricoh Corp., 487 U.S. 22, 29 (1988) (quotations omitted). In addition to the
   22   convenience of the parties and witnesses and the interests of justice, courts may
   23   consider the following factors to determine whether a transfer is warranted:
   24         (1) the plaintiff's choice of forum; (2) the location where the
   25         events at issue took place; (3) the differences in the costs of
              litigation in the two forums; (4) the respective parties' contacts
   26         with the forum; (5) the contacts relating to the plaintiff's cause
   27         of action in the chosen forum; (6) any local interest in the
   28                                            17
              DEFENDANTS WERNER ENTERPRISES, INC. AND DRIVERS MANAGEMENT, LLC’S
   30     MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF MOTION TO TRANSFER VENUE

   31
Case 5:20-cv-00994-JGB-kk Document 10-1 Filed 05/15/20 Page 24 of 30 Page ID #:920




              controversy; (7) the ease of access to sources of proof; (8) the
    1
              availability of compulsory process to compel attendance of
    2         unwilling non-party witnesses; and (9) the state that is most
              familiar with the governing law.
    3
    4   Raynes v. Davis, 2007 WL 4145102, at *2 (C.D. Cal. Nov. 19, 2007) (citing Jones
    5   v. GNC Franchising, Inc., 211 F.3d 495, 498-99 (9th Cir. 2000)). The relative
    6   levels of docket congestion has also been deemed an appropriate consideration. See
    7   Ventress v. Japan Airlines, 486 F.3d 1111, 1119 (9th Cir. 2007). Courts also
    8   consider the efficient use of resources and avoidance of unnecessary waste and
    9   expense as well as the desire to avoid inconsistent adjudications. Continental
   10   Grain Co. v. The FBL-585, 364 U.S. 19, 26-27 (1960) (“To permit a situation in
   11   which two cases involving precisely the same issues are simultaneously pending in
   12   different District Courts leads to the wastefulness of time, energy and money that §
   13   1404(a) was designed to prevent”); Mussetter Distrib., Inc. v. DBIU Beverage Inc.,
   14   2009 U.S. Dist. LEXIS 61013, at *13 (E.D. Cal. July 8, 2009).
   15         Here, because the putative class in this case is included within the classes
   16   described in the Abarca, Smith, and Vester complaints, this Court should transfer
   17   this action to the District of Nebraska where the Abarca, Smith, and Vester actions
   18   are already pending. See Puri v. Hearthside Food Solutions LLC, 2011 WL
   19   6257182, at *3 (C.D. Cal. Dec. 13, 2011) (“The pendency of related actions in the
   20   transferee forum is a significant factor in considering the interest of justice
   21   factor.”) (quoting Jolly v. Purdue Pharma L.P., 2005 WL 2439197, at *2 (S.D.
   22   Cal. Sept. 28, 2005). The mere fact that other related actions are pending in
   23   Nebraska is a sufficient justification for transferring this action. Parker v. Fedex
   24   Nat’l, Inc., 2010 U.S. Dist. LEXIS 130455, *12 (E.D. Cal. Dec. 6, 2010)
   25   (transferring class action to Central District, where a related case was pending,
   26   because the interest of judicial efficiency and economy weighed heavily in favor of
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   28                                           18
              DEFENDANTS WERNER ENTERPRISES, INC. AND DRIVERS MANAGEMENT, LLC’S
   30     MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF MOTION TO TRANSFER VENUE

   31
Case 5:20-cv-00994-JGB-kk Document 10-1 Filed 05/15/20 Page 25 of 30 Page ID #:921




    1   transfer even though parties were different); Viper Networks, Inc. v. Rates
    2   Technology Inc., 2009 U.S. Dist. LEXIS 110058, *11 (S.D. Cal. Nov. 23, 2009)
    3   (similar).
    4         If this case is not transferred to the District of Nebraska and is allowed to
    5   proceed simultaneously in this jurisdiction, there is a risk of inconsistent rulings
    6   and judgments on identical legal issues, for identical parties. Absent transfer, two
    7   courts would be overseeing virtually identical claims asserted on behalf of virtually
    8   identical parties with virtually identical discovery, which will result in a waste of
    9   judicial resources and the parties' resources.
   10                       a)     The Court Should Give Little Weight To Plaintiff’s
   11                              Choice of Forum.
   12         Although a plaintiff’s choice of forum may be accorded some deference
   13   when deciding whether to transfer, less deference applies in class action
   14   proceedings because putative class members and alleged violations often cross
   15   different venues. See, e.g., Lou v. Belzberg, 834 F.2d 730, 739 (9th Cir. 1987)
   16   (“[W]hen an individual brings a derivative suit or represents a class, the named
   17   plaintiff’s choice of forum is given less weight”); King-Scott, 2010 U.S. Dist.
   18   LEXIS 44256 at *6. A plaintiff’s choice of forum is not conclusive when a
   19   previously-filed lawsuit involving the same or similar issues has been proceeding
   20   in another forum. See, e.g., Shelby v. Factory Five Racing, Inc., 2009 U.S. Dist.
   21   LEXIS 15830, *11-12 (C.D. Cal. Apr. 14, 2009) (transferring matter from
   22   plaintiff’s forum of choice to another district where action dealt with similar
   23   parties and issues and was first filed there).
   24         The Abarca, Smith, and Vester actions were filed first, are pending in
   25   Nebraska and assert the same claims on behalf of classes that include the putative
   26   class Plaintiff seeks to represent. Although the Abarca, Smith, and Vester actions
   27   were filed in California, courts in California already properly transferred them to
   28                                              19
              DEFENDANTS WERNER ENTERPRISES, INC. AND DRIVERS MANAGEMENT, LLC’S
   30     MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF MOTION TO TRANSFER VENUE

   31
Case 5:20-cv-00994-JGB-kk Document 10-1 Filed 05/15/20 Page 26 of 30 Page ID #:922




    1   Nebraska. The fact that two class actions involving the same claims and the same
    2   parties were previously transferred on convenience grounds and are now being
    3   litigated in Nebraska provides compelling grounds for a convenience transfer of
    4   this case as well.
    5                        b)    The Convenience Of Parties And Witnesses Weighs In
    6                              Favor Of Transfer.
    7         The convenience of the parties and witnesses is entitled to great weight in
    8   this Court’s transfer analysis. Williams v. Bowman, 157 F. Supp. 2d 1103, 1109
    9   (N.D. Cal. 2001); U-Haul Int’l, Inc. v. Hire a Helper, LLC, 2008 U.S. Dist. LEXIS
   10   81497, *5 (D. Ariz. 2008) (“‘The convenience of both party and non-party
   11   'witnesses is probably the single-most important factor in the analysis of whether
   12   transfer should be granted.’”) (internal citations omitted). Defendants’ key
   13   witnesses and relevant documents are, in large part, located in Nebraska. (Tisinger
   14   Decl. ¶¶6-7.) Trial in California would be extremely costly for Defendants, who
   15   would have to pay the transportation, meal, and lodging costs for defense
   16   witnesses’ attendance at trial in California. Defendants would also suffer disruption
   17   of business operations while key employees are away from their jobs. The expense
   18   and the disruption to Defendants’ business would be dramatically reduced if trial
   19   were conducted in Nebraska. The District of Nebraska is a much more convenient
   20   forum for Defendants. See Evancho v. Sanofi-Aventis U.S., Inc., 2007 U.S. Dist.
   21   LEXIS 35500, *11-12 (N.D. Cal. May 3, 2007).
   22         Section 1404(a) also favors transfer to a venue where the burden on
   23   witnesses will be clearly reduced. In re Funeral Consumers Antitrust Litig., 2005
   24   U.S. Dist. LEXIS 48243, *4 (N.D. Cal. Sept. 23, 2005). The burden on witnesses –
   25   particularly those who have to travel in order to testify at trial – can be significant:
   26         These individuals must take time out of their work and private
   27         time to travel and from the place of trial, to live away from

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              DEFENDANTS WERNER ENTERPRISES, INC. AND DRIVERS MANAGEMENT, LLC’S
   30     MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF MOTION TO TRANSFER VENUE

   31
Case 5:20-cv-00994-JGB-kk Document 10-1 Filed 05/15/20 Page 27 of 30 Page ID #:923




              home and to wait around windowless corridors on call to
    1
              testify. Back home, they have children to get to school, elderly
    2         parents to care for, jobs to do and lives to lead – all of which
              must be managed somehow or put on hold. Although lawyers
    3
              tend to underestimate this burden, it is genuine, all the more so
    4         in a distant city. Even where a witness is an employee of a party
              and will be paid, the disruption is still a hard fact. The expenses
    5
              of housing and meals, even if borne by a party, are nonetheless
    6         authentic outlays.
    7
        Id. Witnesses coming from Nebraska will be required to travel up to a full work
    8
        day or more in each direction to get to California. If this case were tried in
    9
        Nebraska, most of Defendants’ witnesses could be in the courtroom within a
   10
        couple hours because they live and work in the area. Because other related actions
   11
        are pending in the District of Nebraska, a transfer would also allow defense
   12
        witnesses to appear once in a single venue, rather than appear multiple times in
   13
        multiple venues to testify on the same issues. Alexander v. Franklin Res., Inc.,
   14
        2007 U.S. Dist. LEXIS 19727, *3 (N.D. Cal. Feb. 14, 2007); Jolly, 2005 WL
   15
        2439197, at *2. The availability of compulsory process in Nebraska would also
   16
        make it easier to compel attendance of witnesses located in Nebraska. These
   17
        factors weigh in favor of transfer.
   18
                            c)    The Ease Of Access To Sources Of Proof Favors
   19
                                  Transfer.
   20
              Defendants’ human resources policies, pay policies, and payroll documents
   21
        were generated and are maintained at Defendants’ corporate headquarters in
   22
        Nebraska. (Tisinger Decl. ¶¶6-7.) Time records and personnel files for Plaintiff and
   23
        other putative class members are also maintained in Nebraska. (Id.) Witnesses
   24
        likely to testify about these matters are located in or very close to Omaha,
   25
        Nebraska. (Id.) The fact that these policies, practices, and records are all located in
   26
        Nebraska supports transferring this case to Nebraska. See Bradley-Brown v. Am.
   27
   28                                             21
              DEFENDANTS WERNER ENTERPRISES, INC. AND DRIVERS MANAGEMENT, LLC’S
   30     MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF MOTION TO TRANSFER VENUE

   31
Case 5:20-cv-00994-JGB-kk Document 10-1 Filed 05/15/20 Page 28 of 30 Page ID #:924




    1   Home Mortg. Servicing, Inc., 2012 WL 254064, at *3 (C.D. Cal. Jan. 25, 2012)
    2   (granting motion to transfer when key policies and procedures were located at
    3   defendant’s headquarters in Texas); Evancho, 2007 U.S. Dist. LEXIS 35500 at *15
    4   (granting a motion to transfer venue to the location of the defendant’s corporate
    5   headquarters, in part, because the policies and practices that underlie the action
    6   originated at the New Jersey headquarters); Stewart v. AT&T, Inc., 2007 U.S. Dist.
    7   LEXIS 28760, *10 (N.D. Cal. April 3, 2007) (transferring ERISA class action to
    8   San Antonio, in part, because the plan was designed, amended, and administered
    9   from the defendant’s San Antonio headquarters, where most of the employees
   10   responsible for the plan worked).
   11                        d)   The District Of Nebraska Is Familiar With The
   12                             Relevant Wage And Hour Laws.
   13         Plaintiff alleges seven causes of action arising under California law. Simply
   14   because these claims are premised on California law, however, does not mean that
   15   such claims can only be decided by a California court. Courts regularly adjudicate
   16   claims based on law from other jurisdictions. Judges in the District of Nebraska are
   17   undoubtedly capable of applying the applicable wage and hour laws. LaCross v.
   18   Knight Transp., Inc., 95 F. Supp. 3d 1199, 1206 (C.D. Cal. 2015) (“Federal courts
   19   in other states are fully capable of applying California law.”) (internal quotation
   20   marks omitted); Hawkins v. Gerber Prods. Co., 924 F. Supp. 2d 1208, 1216 (S.D.
   21   Cal. 2013) (same).
   22         That is particularly true here, where the Nebraska District Court has been
   23   presiding over the Abarca, Smith, and Vester actions, which assert the same
   24   California wage and hour claims at issue in this action, for over five years and is
   25   familiar with the California legal issues present here. Three federal courts in
   26   California already determined when they transferred Abarca, Smith, and Vester
   27
   28                                           22
              DEFENDANTS WERNER ENTERPRISES, INC. AND DRIVERS MANAGEMENT, LLC’S
   30     MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF MOTION TO TRANSFER VENUE

   31
Case 5:20-cv-00994-JGB-kk Document 10-1 Filed 05/15/20 Page 29 of 30 Page ID #:925




    1   that the Nebraska District Court would adequately preside over a case involving
    2   California law.
    3                      e)    The Alleged Events On Which Plaintiff Relies As The
    4                            Basis for His Claims Occurred, if at all, in the District
    5                            of Nebraska.
    6          Defendants anticipate Plaintiff may argue the alleged conduct on which his
    7   claims rely occurred in California. However, Plaintiff's allegations are based on
    8   policies applicable to drivers which are formulated in Nebraska. (Tisinger Decl.
    9   ¶¶6-7.) Defendants are headquartered in Nebraska and all payroll is processed and
   10   distributed from Nebraska. (Id.). The District of Nebraska is currently presiding
   11   over Abarca, Smith, and Vester, which assert the same claims on behalf of classes
   12   which include the class Plaintiff seeks to represent. This factor weighs in favor of
   13   transfer.
   14                      f)    The Relative Docket Congestion Weighs In Favor of
   15                            Transfer.
   16          The docket of the Central District of California is more congested than the
   17   docket of the District of Nebraska. According to the Federal Court Management
   18   Statistics (available at https://www.uscourts.gov/statistics-reports/federal-court-
   19   management-statistics-december-2019), in the twelve-month period ending
   20   December 31, 2019, the Central District of California had 18,125 total filings and
   21   14,695 cases pending, whereas the District of Nebraska had 1,569 total filings and
   22   1,224 cases pending. The judges in the Central District of California on average
   23   have 117 more pending cases per judge (525 cases) than do the judges in the
   24   District of Nebraska (408 cases). Because the Central District of California is more
   25   congested than the District of Nebraska, transfer to the District of Nebraska would
   26   promote judicial efficiency and the speedy resolution of case.
   27   ///
   28                                            23
              DEFENDANTS WERNER ENTERPRISES, INC. AND DRIVERS MANAGEMENT, LLC’S
   30     MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF MOTION TO TRANSFER VENUE

   31
Case 5:20-cv-00994-JGB-kk Document 10-1 Filed 05/15/20 Page 30 of 30 Page ID #:926




    1                       g)     Considerations Of Judicial Economy Favor Transfer.
    2         This action has only been before this Court since February 10, 2020. A
    3   transfer will not significantly disrupt this litigation or result in a waste of judicial
    4   resources because nothing has occurred in this case since it was removed.
    5   Additionally, it would be more efficient to allow the judge who is already handling
    6   identical claims in Abarca, Smith, and Vester and who is therefore already familiar
    7   with the claims, relevant facts, and legal theories, to handle this case as well.
    8   Because this case asserts claims identical to those in Abarca, Smith, and Vester, it
    9   would be a waste of judicial resources and the parties' resources to require the
   10   parties to litigate these cases separately, with separate discovery, separate
   11   depositions, and separate motion practice.
   12   IV.   CONCLUSION
   13         For all of the foregoing reasons, Defendants respectfully request that this
   14   Court transfer this case to the United States District Court for the District of
   15   Nebraska, under the first-to-file doctrine, or in the alternative, based on the
   16   convenience of the parties and witnesses and the interests of justice under 28
   17   U.S.C. section 1404(a).
   18   DATED: May 15, 2020                    STOKES WAGNER ALC
   19
                                               By: /s/ Peter B. Maretz_______________
   20                                          PETER B. MARETZ
                                               Attorney for Defendants WERNER
   21                                          ENTERPRISES, INC. and DRIVERS
                                               MANGEMENT, LLC
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   28                                             24
              DEFENDANTS WERNER ENTERPRISES, INC. AND DRIVERS MANAGEMENT, LLC’S
   30     MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF MOTION TO TRANSFER VENUE

   31
